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       ORDERED in the Southern District of Florida on February 12, 2024.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA

       In re:    Jaime Cadavid                                                     Case No.: 23-16959-RAM
                                                                                   Chapter 13
                            Debtor(s)                          /

                ORDER SUSTAINING OBJECTION TO CLAIM OF LVNV FUNDING, LLC
                              RESURGENT CAPITAL SERVICES

              THIS MATTER having come to be heard without objection on the consent calendar on
       December 12, 2023, upon Debtor’s Objection to Claim of LVNV Funding, LLC Resurgent Capital
       Services; claim #1, 2, 3, 13 (“Objection”) [ECF#34] and based on the record, IT IS;

                ORDERED AND ADJUDGED:

           1. The Objection is SUSTAINED.
           2. The claims are stricken and disallowed.
                                                             ###
       Respectfully Submitted:
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       The Law Office of Jose A. Blanco, P.A., is hereby directed to mail a conformed copy of this order to all affected
       parties and file a certificate of service.
